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		Welcome to the  Supreme Court of Georgia. 

		
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							Supreme Court of Georgia244 Washington Street,&nbsp;Suite&nbsp;572
Atlanta, Georgia 30334
Phone: (404) 656-3470
FAX: (404) 656-2253
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							Oral Argument CalendarCurrent Monthdecember 2017Oral Arguments
									
										Supreme Court of Georgia
										
											40 Capitol Square, Atlanta GA 30334
										
				11dec10:00 am1:00 pmOral ArgumentsOral Arguments
									
										Supreme Court of Georgia
										
											40 Capitol Square, Atlanta GA 30334
										
				12dec10:00 am1:00 pmOral Argumentsjanuary 2018Oral Arguments
									
										Supreme Court of Georgia
										
											40 Capitol Square, Atlanta GA 30334
										
				08jan10:00 am4:00 pmOral ArgumentsOral Arguments
									
										Supreme Court of Georgia
										
											40 Capitol Square, Atlanta GA 30334
										
				22jan10:00 am4:00 pmOral ArgumentsOral Arguments
									
										Supreme Court of Georgia
										
											40 Capitol Square, Atlanta GA 30334
										
				23jan10:00 am1:00 pmOral ArgumentsView Full Calendar
																					
																										
											News and Reports		
											
					12/6/17 – JUDGE WHITAKER TO HEAR GEORGIA SUPREME COURT CASE
									
											
					12/6/17 – JUDGE PHELPS TO HEAR GEORGIA SUPREME COURT CASE
									
											
					12/6/17 – JUDGE SMITH TO HEAR GEORGIA SUPREME COURT CASE
									
					
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